           IN THE UNITED STATES DISTRICT COURT
        FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                CASE NO. 1:20-cv-00954-WO-JLW


 FARHAD AZIMA,

             Plaintiff,                      NON-PARTY DECHERT LLP’S
                                              MEMORANDUM OF LAW IN
       v.                                    RESPONSE TO THE COURT’S
                                             JANUARY 27 ORDER AND IN
 NICHOLAS DEL ROSSO and VITAL                 SUPPORT OF ITS REQUEST
 MANAGEMENT SERVICES, INC.,                  FOR AN EXTENSION OF TIME

             Defendants.

      Non-party Dechert LLP (“Dechert”) respectfully submits this brief in

response to the Court’s January 27, 2025 Memorandum Opinion and Order at

ECF 431 (the “January 27 Order”), as former counsel to Ras Al Khaimah and

its related instrumentalities (“RAK”).

      In the January 27 Order, the Court offered RAK the opportunity to

appear by February 19, 2025, by filing a brief explaining its authorization of

and direction to Defendants Nicolas Del Rosso and Vital Management

Services, Inc., to assert attorney-client privilege and work product protection

on its behalf. RAK has asked Dechert to file this Memorandum on the ground




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that, as RAK explained in a recent letter to Dechert, attached as Ex. A,1 RAK

is a foreign sovereign nation with no presence, operations, or assets in this

jurisdiction or anywhere in the United States, and that it seeks to avoid any

further claim that an appearance in this litigation would waive its

jurisdictional and sovereign immunity defenses. See Ex. A (citing ECF No.

322). In light of its former client’s request, Dechert respectfully submits this

memorandum of law and request for an extension of time in response to the

Court’s January 27 Order.

      First, Dechert respectfully requests that the Court uphold privilege of

the documents on Defendants’ RAK-related log to which Dechert already has

asserted privilege, 247 in total.2 See Quinn Decl. ¶ 7; App. 1. As the January

27 Order observes, see ECF 431 at 7-8, the attorney is a party to the attorney-

client relationship and thus entitled to assert the privilege of the client. And

RAK has authorized and requested Dechert to do so here. See also

Memorandum Opinion & Order at ECF 433 at 5 (recognizing that Dechert is

“capable of asserting the attorney-client privilege on [RAK’s] behalf”).



1 References to “Ex.” refer to exhibits to the Declaration of John C. Quinn

(“Quinn Decl.”), filed contemporaneously herewith, while App. refers to
appendices to that same declaration.
2 Dechert understands that Defendants have served Plaintiff with two

privilege logs: one that asserts Defendants’ privilege, and the other that
asserts RAK’s privilege. Only the RAK-related privilege log is relevant here.
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      Second, Dechert respectfully requests an extension of time to review the

remainder of the documents withheld and logged by Defendants so that

Dechert can assert RAK’s privilege over additional documents as appropriate.

As the January 27 Order notes, it is undisputed that RAK engaged Dechert to

provide legal services, and “Dechert, in turn, engaged Defendants ‘in

connection with and to facilitate legal advice provided by Dechert to RAK.’”

ECF 431 at 4. In these circumstances, Dechert expects that many of the

documents withheld by Defendants will be shielded from discovery by RAK’s

attorney-client privilege, and that Dechert will be entitled to assert that

privilege. Dechert must review each document carefully to ensure that an

assertion of privilege is appropriate in each instance. As a non-party, Dechert

did not previously have occasion to review every document on Defendants’

privilege log. Dechert only recently gained access to those documents and has

been reviewing them expeditiously.

      Accordingly, Dechert respectfully moves the Court, pursuant to Rule 6(b)

of the Federal Rules of Civil Procedure, Local Rule 6.1, and the Court’s

inherent authority, for a modest extension of 30 days to review the documents

and assert RAK’s privilege as appropriate. We have conferred with the parties

to this action and Defendants consent to the motion for extension, while

Plaintiff opposes.


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                        RELEVANT BACKGROUND

      A. Dechert’s Engagement of Defendants

      Dechert is a global law firm that is not party to this suit. RAK engaged

Dechert through its Dubai office to provide legal services, and Dechert hired

Defendants “in connection with and to facilitate legal advice provided by

Dechert to RAK.” See ECF No. 431 at 4. More specifically, as set forth below,

RAK engaged Dechert to investigate, advise RAK on, and potentially represent

RAK in litigation with respect to suspected fraud and/or misconduct on the

part of certain former agents and associates of RAK. In connection with the

delivery of these legal services, Dechert, in turn, engaged Defendants in 2014

to perform specific functions to assist Dechert.




                                                                    And Dechert and

Defendant Del Rosso testified that Defendants were engaged by Dechert to

facilitate its representation of RAK. See Ex. D at 186:16–187:14 (Excerpt of


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Feb. 29, 2024 Dechert Rule 30(b)(6) Deposition Transcript); Ex. C at 13:8-21

(Excerpt of Feb. 13, 2023 Nicholas Del Rosso Deposition Transcript).

Defendants’ work also led to several meetings between federal law enforcement

and members of RAK’s legal team. See Ex. D at 79:19-25; 83:22–84:2 (Excerpt

of Feb. 29, 2024 Dechert Rule 30(b)(6) Deposition Transcript)

      During the course of Dechert’s representation of RAK, Dechert provided

direction and instruction to Defendants, and Defendants’ vendors and

consultants, regarding their investigative services, in connection with the

broader investigative and legal strategy on which Dechert was providing legal

counsel and legal services to RAK. See Ex. C at 15:16-23 (Excerpt of Feb. 13,

2023 Nicholas Del Rosso Deposition Transcript).3 Indeed, “@dechert” (a likely

hallmark for the inclusion of an individual with a Dechert email address)

appears 323 times on Defendants’ RAK-related privilege log. See Quinn Decl.

¶ 9 (citing ECF No. 402-7).    And a search for “Dechert” in the database

repository of the documents that Defendants withheld for privilege hits on

more than 450 of the 707 documents. See Quinn Decl. ¶ 9.




3 PRIVID_RAK-000085 is an example of such direction and instruction, which

Dechert is prepared to provide to the Court for in camera review if requested.
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      B. Dechert’s Assertion of RAK’s Privilege

      Plaintiff served Dechert with multiple subpoenas in this matter, and in

responding to those subpoenas, Dechert reviewed hundreds of thousands of

documents, produced 65,000 pages of documents across 23 separate

productions, and served privilege logs with nearly 20,000 entries. See Quinn

Decl. ¶ 2. Those privilege logs are not the subject of any pending challenge.

Instead, in addressing the Special Master's Report and Decision No. 7, the

Court noted that “it appears that Dechert has appropriately asserted

attorney-client privilege on RAK’s behalf.” See ECF No. 433 at 4-5.

      In the January 27 Order, the Court invited RAK to assert its attorney-

client privilege through the “filing [of] a motion and brief explaining its

assertion of privilege” by February 19, 2025. ECF No. 431 at 10. RAK has asked

Dechert to make such a submission in its stead, pointing to previous

arguments that any appearance by RAK would waive its jurisdictional and

sovereign immunity defenses to any action in the United States. See Ex. A

(citing ECF No. 322 at 1 (“RAK should be required to formally appear, having

done so informally. In submitting [the February 13, 2023 Ruzumna] sworn

statement, RAK has now opened the door to a waiver of any sovereign

immunity arguments it may have had.”)).




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        In light of RAK’s request to Dechert, Defendants provided Dechert with

access to a database containing the 707 documents that Defendants listed on

their RAK-related privilege log. Based on our review to date, we have identified

247 documents on Defendants’ RAK-related privilege log that are also on

Dechert’s privilege log. See Quinn Decl. ¶ 7. Those documents are listed in

Appendix A to the Quinn Declaration, with a reference to the document ID on

Dechert’s privilege log and the method of matching used. Id. We also have

identified more than 450 documents in the database repository—well over half

the total—that hit on a search for the term “Dechert.” See Quinn Decl. ¶ 9.

        We are continuing to review the documents on Defendants’ RAK-related

privilege log. Id. ¶ 6. In light of the nature of Defendants’ engagement by

Dechert and the other facts outlined above, Dechert has reason to believe that

many of those additional documents will be subject to RAK’s attorney-client

privilege.

                                 ARGUMENT

   I.     Dechert Is Capable of Asserting RAK’s Privilege on RAK’s
          Behalf.

        RAK engaged Dechert to provide legal services. See ECF No. 431 at 4,

7-8. Accordingly, Dechert, “as attorneys for RAK . . . are capable of asserting

the attorney-client privilege” on RAK’s behalf. ECF No. 433 at 5.



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         The Court’s conclusion that Dechert is capable of asserting RAK’s

attorney-client privilege is well supported by applicable law. See Fisher v.

United States, 425 U.S. 391, 402 n.8 (1976) (“[I]t is universally accepted that

the attorney-client privilege may be raised by the attorney.”). The Fourth

Circuit has explained the “well established” rule that “if the client may invoke

attorney-client privilege to protect confidential communications, then the

client’s attorney also may [] do so on the client’s behalf.” In re Grand Jury

Subpoena #06-1, 274 Fed. Appx. 306, 309 n.3 (4th Cir. 2008). The North

Carolina Supreme Court has held the same. In the context of an attorney’s

representation of a former client, the court explained that an “attorney may

assert the privilege when necessary to protect the interests of the client.” In re

Miller, 357 N.C. 316, 338–39 (2003) (holding that the attorney-client privilege

survives even the death of a client). Attorney-client privilege “is the client's

alone to waive.” Crosmun v. Trs. of Fayetteville Tech. Cmty. Coll., 266 N.C.

App. 424, 440 (2019). RAK has not waived the privilege, and instead has

authorized and asked Dechert to assert RAK’s privilege.

   II.     Defendants’ Possession of Privileged Materials Does Not
           Undermine the Privilege.

         As set forth above, Dechert engaged Defendants to conduct investigative

and other services in connection with Dechert’s representation of RAK. See

Background, supra at 4-5. Accordingly, within the scope of that engagement,

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Defendants were party to the attorney-client relationship between RAK and

Dechert, and their involvement in or possession of privileged communications

does not effect any waiver or loss of privilege. See ECF 433 at 5 (“upholding

Dechert’s   assertion   of   privilege   over   communications      that   involved

Defendants”). Counsel’s authority to employ agents to facilitate its legal

representation, without sacrificing the client’s attorney-client privilege, is

recognized by both federal and North Carolina law. See ECF No. 431 at 6-7

(citing U.S. Tobacco Coop., Inc. v. Certain Underwriters at Lloyd’s, No. 5:19-cv-

430, 2021 WL 1341360, at *11 (E.D.N.C. Apr. 9, 2021)); State v. Murvin, 304

N.C. 523, 531, 284 S.E.2d 289, 294 (1981).

      As the Court recognized, “privileged information can be shared with the

agent of an attorney or client without vitiating the privilege.” ECF No. 431 at

6–7 (citation omitted) (emphasis added); see also id. at 6 (“Protection may . . .

be extended to protect communications by a lawyer to his client, agents or

superiors, or to other lawyers in the case of joint representation if those

communications reveal confidential client communications.” (citation omitted)

(emphasis added)). That rule makes sense: privilege law recognizes that

documents and communications prepared, sent, or received by an agent of a

lawyer or client in the course of the client’s legal representation should remain

privileged where the agent is “necessary, or at least highly useful, for the


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effective consultation between the client and the lawyer.” United States v.

Kovel, 296 F.2d 918, 921-23 (2d Cir. 1961); see United States v. Bornstein, 977

F.2d 112, 116 (4th Cir. 1992) (explaining that, in deciding whether attorney-

client privilege applies, court must determine whether third party’s services

were performed “primarily to allow [the attorney] to give legal advice”).

      Though the North Carolina Supreme Court has not explicitly adopted

the Kovel doctrine, see Glob. Textile All., Inc. v. TDI Worldwide, LLC, 375 N.C.

72, 78 (2020), it embraces the same agency principles underlying Kovel. See In

re Miller, 357 N.C. 316, 341 (2003) (explaining that third-party agent’s

communications should remain privileged because they “would relate to the

third-party principal's interests, [and] would therefore be within the scope of

matter about which the attorney was professionally consulted”); Berens v.

Berens, 785 S.E.2d 733, 740-41 (N.C. Ct. App. 2016) (holding that the client’s

friend, who acted as an “agent and consultant” in divorce proceedings, did not

destroy attorney-client privilege because “the privilege still applies if the third

party is an agent of either party”).

      As relevant here, the rule extending privilege to a lawyer’s agent covers

private investigators, too. See Gucci Am., Inc. v. Guess?, Inc., 271 F.R.D. 58, 71

(S.D.N.Y.2010); In re Grand Jury Proceeding, 79 F. App’x 476, 477 (2d Cir.

2003) (citing Kovel and explaining that “the attorney-client privilege may


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extend to communications with a third party, such as an accountant or private

investigator hired to assist in the rendition of legal services”).

      In light of these principles, Defendants’ possession of privileged

documents and communications does not undermine their privilege, and

Dechert is capable of asserting that privilege. See In re Miller, 357 N.C. at 341

(2003).


   III.   Many Documents on Defendants’ Privilege Log Are Protected
          by RAK’s Privilege.

      As set forth above, as of the time of filing, Dechert has identified 247

documents on Defendants’ RAK-related privilege log that also appear on

Dechert’s privilege log. Quinn Decl. ¶ 7. In view of the foregoing evidence and

authorities, Dechert respectfully asserts RAK’s privilege with respect to those

documents.

      In addition, as noted, a search for “Dechert” in the database repository

of the documents that Defendants withheld hits on more than 450 of the 707

documents. See Quinn Decl. ¶ 9. We are reviewing each of those documents to

ensure that nothing about the particular individual or chain or purpose or

scope of the communication is inconsistent with an assertion of privilege.

      Finally, we are also reviewing the remaining withheld documents to

ensure that each of them was created and/or sent within the scope of



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Defendants’ agency relationship with Dechert and the privileged relationship

between Dechert and RAK.

   IV.   A Brief Extension Is Warranted.

      This Court set the February 19, 2025 deadline and has the power to

extend it, pursuant to Federal Rule of Civil Procedure 6(b) and Local Rule 6.1

as well the Court’s inherent authority. And a brief extension is warranted here.

As noted, Dechert only recently obtained access to the documents withheld by

Defendants and is undertaking its review expeditiously. See Quinn Decl. ¶ 6.

A brief extension will enable to Dechert to undertake that review with the care

that it deserves, in order to fulfill Dechert’s obligations to this Court. As noted

above, Defendants consent to this motion while Plaintiff opposes. For all these

reasons, Dechert respectfully requests an extension of the February 19, 2025

deadline by thirty days.

                                CONCLUSION

      For the reasons discussed herein, Defendants’ privilege assertions

should be upheld with respect to the documents also appearing on Dechert’s

privilege log, and the February 19, 2025, deadline should be extended by thirty

days so that Dechert can complete a review of all documents withheld by

Defendants and assert RAK’s privilege with respect to those documents as

appropriate.


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     Respectfully submitted, this the 19th day of February, 2025.

Dated: February 19, 2025
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                       CERTIFICATE OF SERVICE

       I hereby certify that on this 19th day of February 2025, I electronically
filed the foregoing document with the Clerk of the Court using the CM/ECF
system, which will send electronic notification of filing to the following:
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                     WORD COUNT CERTIFICATION
      Pursuant to Local Rule 7.3(d)(1), I hereby certify, subject to Fed. R. Civ.

P. 11, that Dechert’s Memorandum Of Law In Response To The Court’s

January 27 Order And In Support Of Its Request For An Extension Of Time

contains 2,499 words, according to the word count feature of the word

processing system used to prepare the brief. Accordingly, the brief does not

exceed the word limitation applicable to such filings.


      Respectfully submitted this 19th day of February, 2025.


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